Case 1:25-cv-00128-JJM-LDA        Document 35      Filed 04/11/25   Page 1 of 6 PageID #:
                                         988



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

 STATE OF RHODE ISLAND; STATE OF
 NEW YORK; STATE OF HAWAI‘I; STATE
 OF ARIZONA; STATE OF CALIFORNIA;
 STATE OF COLORADO; STATE OF
 CONNECTICUT; STATE OF DELAWARE;
 STATE OF ILLINOIS; STATE OF MAINE;                     Case No.: 1:25-cv-128
 STATE OF MARYLAND;
 COMMONWEALTH OF MASSACHUSETTS;
 PEOPLE OF THE STATE OF MICHIGAN;
 STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NEW JERSEY; STATE
 OF NEW MEXICO; STATE OF OREGON;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN;

       Plaintiffs,

       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; INSTITUTE OF
 MUSEUM AND LIBRARY SERVICES;
 KEITH E. SONDERLING, in his official
 capacity as Acting Director of the Institute of
 Museum and Library Services; MINORITY
 BUSINESS AND DEVELOPMENT AGENCY;
 MADIHA D. LATIF, in her official capacity as
 Deputy Under Secretary of Commerce for
 Minority Business Development; HOWARD
 LUTNICK, in his official capacity as Secretary
 of Commerce; FEDERAL MEDIATION AND
 CONCILIATION SERVICE; GREGORY
 GOLDSTEIN, in his official capacity as Acting
 Director of the Federal Mediation and
 Conciliation Service; OFFICE OF
 MANAGEMENT AND BUDGET; RUSSELL
 T. VOUGHT, in his official capacity as Director
 of the Office of Management and Budget;

       Defendants.




                                              1
Case 1:25-cv-00128-JJM-LDA           Document 35        Filed 04/11/25      Page 2 of 6 PageID #:
                                            989



                           NOTICE OF SUPPLEMENTAL FILING

       The Plaintiff States hereby file the attached supplemental declarations as Exhibits 46

through 54 in support of their Motion for a Temporary Restraining Order, ECF No. 3, which was

converted to a Motion for a Preliminary Injunction by joint stipulation, ECF No. 31, entered by

this Court’s Text Order on April 10, 2025. The supplemental declarations present developments

that Plaintiffs could not have put before the Court at the time of their Motion.



April 11, 2025                                        Respectfully submitted,


PETER F. NERONHA                                      LETITIA JAMES
Attorney General for the State of Rhode               Attorney General for the State of New York
Island
                                                      By: /s/ Abigail Katowitz-Liu
/s/ Natalya A. Buckler                                Abigail Katowitz-Liu
Kathryn M. Sabatini (RI Bar No. 8486)                 Assistant Attorney General
Chief, Civil Division                                 Rabia Muqaddam
Special Assistant Attorney General                    Special Counsel for Federal Initiatives
Keith D. Hoffmann (RI Bar No. 9872)                   Sean Bunny
Chief of Policy                                       Assistant Attorney General
Assistant Attorney General                            28 Liberty St.
Natalya A. Buckler (RI Bar No. 8415)                  New York, NY 10005
Assistant Attorney General                            (212) 416-8922
Paul Meosky (RI Bar No. 10742)                        Abigail.katowitz-liu@ag.ny.gov
Special Assistant Attorney General                    Rabia.muqaddam@ag.ny.gov
150 South Main Street                                 Sean.bunny@ag.ny.gov
Providence, RI 02903                                  Attorneys for the State of New York
Phone: (401) 274-4400
Fax: (401) 222-2995                                   ANNE E. LOPEZ
ksabatini@riag.ri.gov                                 Attorney General for the State of Hawaiʻi
khoffmann@riag.ri.gov
nbuckler@riag.ri.gov                                  By: /s/ Kalikoʻonālani D. Fernandes
pmeosky@riag.ri.gov                                   David D. Day
                                                      Special Assistant to the Attorney General
                                                      Kalikoʻonālani D. Fernandes
                                                      Solicitor General
                                                      425 Queen Street
                                                      Honolulu, HI 96813
                                                      (808) 586-1360
                                                      kaliko.d.fernandes@hawaii.gov
                                                 2
Case 1:25-cv-00128-JJM-LDA           Document 35    Filed 04/11/25        Page 3 of 6 PageID #:
                                            990



KRISTIN K. MAYES                                   PHILIP J. WEISER
Attorney General                                   Attorney General of Colorado
State of Arizona
                                                   By: /s/ David Moskowitz
/s/ Syreeta A. Tyrell                              David Moskowitz
Syreeta A. Tyrell                                  Deputy Solicitor General
Assistant Attorney General                         1300 Broadway, #10
2005 North Central Avenue                          Denver, CO 80203
Phoenix, Arizona 85004                             (720) 508-6000new
Phone: (602) 542-8310                              David.Moskowitz@coag.gov
Syreeta.Tyrell@azag.gov
ACL@azag.gov                                       WILLIAM TONG
Attorneys for the State of Arizona                 Attorney General
                                                   State of Connecticut
ROB BONTA
ATTORNEY GENERAL OF                                /s/ Ashley Meskill
CALIFORNIA                                         Ashley Meskill
                                                   Assistant Attorney General
/s/ Jay C. Russell                                 165 Capitol Avenue
Jay C. Russell*                                    Hartford, CT 06106
Deputy Attorney General                            Phone: (860) 808 5270
Thomas S. Patterson                                Ashley.Meskill@ct.gov
Senior Assistant Attorney General
Anya M. Binsacca                                   KATHLEEN JENNINGS
Supervising Deputy Attorney General                Attorney General of the State of Delaware
Zelda Vassar
Deputy Attorney General                            By: /s/ Vanessa L. Kassab
California Attorney General’s Office               IAN R. LISTON
455 Golden Gate Avenue, Suite 11000                Director of Impact Litigation
San Francisco, CA 94102                            VANESSA L. KASSAB
(415) 510-3617                                     Deputy Attorney General
Jay.Russell@doj.ca.gov                             Delaware Department of Justice
Counsel for the State of California                820 N. French Street
                                                   Wilmington, DE 19801
                                                   (302) 683-8899
                                                   vanessa.kassab@delaware.gov




                                             3
Case 1:25-cv-00128-JJM-LDA            Document 35     Filed 04/11/25     Page 4 of 6 PageID #:
                                             991



KWAME RAOUL                                         ANDREA JOY CAMPBELL
Attorney General of Illinois                        Attorney General of Massachusetts

/s/ Holly F.B. Berlin                               /s/ Katherine Dirks
HOLLY F.B. BERLIN                                   Katherine Dirks
Assistant Attorney General                          Chief State Trial Counsel
Office of the Illinois Attorney General             Office of the Attorney General
115 S. LaSalle St.                                  One Ashburton Place, 20th Floor
Chicago, IL 60603                                   Boston, MA 02108
(312) 814-3000                                      (617) 963-2277
holly.berlin@ilag.gov                               katherine.dirks@mass.gov
Counsel for the State of Illinois                   Attorney for the State of Massachusetts

AARON M. FREY                                       DANA NESSEL
Attorney General for                                Attorney General for the People of Michigan
the State of Maine
                                                    /s/ Neil Giovanatti
/s/ Vivian A. Mikhail                               Neil Giovanatti
Vivian A. Mikhail                                   BreAnna Listermann
Deputy Attorney                                     Assistant Attorneys General
General                                             Michigan Department of Attorney General
Office of the Attorney                              525 W. Ottawa
General                                             Lansing, MI 48909
6 State House Station                               (517) 335-7603
Augusta, ME 04333-                                  GiovanattiN@michigan.gov
0006                                                ListermannB@michigan.gov
Tel.: 207-626-8800
Fax: 207-287-3145                                   KEITH ELLISON
Vivian.Mikhail@maine.gov                            Attorney General for the State of Minnesota

ANTHONY G. BROWN                                    By: /s/ Jacob Harris
Attorney General for the State of Maryland          Jacob Harris
                                                    Assistant Attorney General
By: /s/ Keith M. Jamieson                           445 Minnesota Street, Suite 600
Keith M. Jamieson                                   St. Paul, Minnesota, 55101
Assistant Attorney General                          (651) 757-1156
200 Saint Paul Place, 20th Floor                    Jacob.Harris@ag.state.mn.us
Baltimore, Maryland 21202
(410) 576-6960
kjamieson@oag.state.md.us
Attorneys for the State of Maryland




                                              4
Case 1:25-cv-00128-JJM-LDA            Document 35     Filed 04/11/25     Page 5 of 6 PageID #:
                                             992



AARON D. FORD                                       DAN RAYFIELD
Attorney General of Nevada                          Attorney General for the State of Oregon

By: /s/ Heidi Parry Stern                           /s/ Brian Simmonds Marshall
Heidi Parry Stern (Bar. No. 8873)                   Brian Simmonds Marshall
Solicitor General                                   Senior Assistant Attorney General
Office of the Nevada Attorney General               100 SW Market Street
1 State of Nevada Way, Ste. 100                     Portland, OR 97201
Las Vegas, NV 89119                                 (971) 673-1880
HStern@ag.nv.gov                                    brian.s.marshall@doj.oregon.gov
                                                    Attorneys for the State of Oregon
MATTHEW J. PLATKIN
Attorney General of New Jersey                      CHARITY R. CLARK
                                                    Attorney General for the State of Vermont
/s/ Joshua Bohn
Joshua Bohn                                         By: /s/ Ryan P. Kane
Max Lesser*                                         Ryan P. Kane
  Deputy Attorneys General                          Deputy Solicitor General
Office of the Attorney General                      109 State Street
25 Market Street                                    Montpelier, VT 05609
Trenton, NJ 08625                                   (802) 828-2153
(609) 696-5366                                      Ryan.kane@vermont.gov
Joshua.Bohn@law.njoag.gov
Max.Lesser@law.njoag.gov                            NICHOLAS W. BROWN
Counsel for the State of New Jersey                 Attorney General for the State of
                                                    Washington
RAÚL TORREZ
Attorney General of New Mexico                      /s/ Kate S. Worthington
                                                    KATE S. WORTHINGTON, WSBA
/s/ Anjana Samant                                   #47556
Anjana Samant*                                      SARAH E. SMITH-LEVY, WSBA #55770
Deputy Counsel for Impact Litigation                Assistant Attorneys General
New Mexico Department of Justice                    7141 Cleanwater Drive SW
P.O. Drawer 1508                                    P.O. Box 40111
Santa Fe, NM 87504-1508                             Olympia, WA 98504-0111
(505) 490-4060                                      (306) 709-6470
asamant@nmdoj.gov                                   kate.worthington@atg.wa.gov
Attorney for Plaintiff State of New Mexico          sarah.e.smith-levy@atg.wa.gov
                                                    Attorneys for Plaintiff State of Washington




                                              5
Case 1:25-cv-00128-JJM-LDA          Document 35        Filed 04/11/25      Page 6 of 6 PageID #:
                                           993



JOSHUA L. KAUL
Attorney General for the State of Wisconsin

/s/ Colin T. Roth
COLIN T. ROTH
Assistant Attorney General
WI State Bar #1103985
Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-7636
rothct1@doj.state.wi.us
Attorney for Plaintiff State of Wisconsin

*Applications for pro hac vice forthcoming




                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I filed the within via the ECF filing system and that

a copy is available for viewing and downloading. I have also caused a copy to be sent via the

ECF System to counsel of record on this 11th day of April, 2025.

                                                     /s/ Natalya A. Buckler




                                                 6
